Case 1:19-cv-09669-AT Document 33

 

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October 15, 2020
VIA ECF & EMAIL
The Honorable Analisa Torres
United States District Court
500 Pearl Street
New York, NY 10007
Torres_NYSDChambers@nysd.uscourts.gov

Re: The New York Times Co., et al. v. Dep’t of the Treasury, 19 Civ. 9669 (AT)
Dear Judge Torres:

I write respectfully on behalf of all parties in the above-referenced action brought under
the Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”), to provide the status update ordered
by the Court on September 15, 2020, and to request an adjournment of the telephonic conference
scheduled for October 22, 2020, at 10:20 AM. See Dkt. No. 31 (mem. endorsement).

On September 14, 2020, the parties submitted a joint letter in which they informed the
Court that they were continuing to confer about modifications to Plaintiff's FOIA request that may
resolve part or all of this case. Dkt. No. 30. Specifically, Plaintiffs had provided the Government
with a narrowed list of domains. Since then, the Government has provided Plaintiffs with the
approximate volume of emails sent between email addresses at those domains and specific agency
custodians and has asked Plaintiffs to narrow their request further. Plaintiffs are in the process of
considering that request. The parties respectfully request an additional 30 days to continue this
process. Further, the parties respectfully propose that they submit a joint status letter updating the
Court on their efforts and proposing next steps in this case by November 16, 2020, and that the
telephonic conference scheduled for October 22, 2020, be adjourned to a date and time after
November 16, 2020, that is convenient for the Court. This is the parties’ ninth request for an
adjournment of the initial conference. The first eight requests were granted. Dkt. Nos. 14, 16, 19,
21, 23, 25, 27, 31.

I thank the Court for its consideration of these requests.

GRANTED. The initial pretrial conference
scheduled for October 22, 2020, is
ADJOURNED to November 24, 2020, at
10:20 a.m. By November 17, 2020, the
parties shall file a joint status letter.

SO ORDERED. O}-

Dated: October 16, 2020 ANALISA TORRES
New York, New York United States District Judge

 
